Case:18-10965-TBM Doc#:44 Filed:03/09/18               Entered:03/09/18 15:32:22 Page1 of 1


                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Thomas B. McNamara


  In re:
                                                    Bankruptcy Case No. 18-10965 TBM
  11380 SMITH RD LLC,                               Chapter 11

  Debtor.
_______________________________________________________________________________

            ORDER GRANTING MOTION FOR ORDER AUTHORIZING
       EXAMINATION OF DEBTOR PURSUANT TO FED. R. BANKR. P. 2004
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       On March 6, 2018, 11380 East Smith RD Investments, LLC (the “Movant”), filed a “Ex Parte
Motion for Rule 2004 Examination of Debtor 11380 Smith Road, LLC” (Docket No. 32, “the Motion”).
The Court, having considered the Motion, hereby

       ORDERS that the Movant is authorized to conduct the requested examination of the Debtor, 11380
Smith Rd, LLC, pursuant to Fed. R. Bankr. P. 2004 and L.B.R. 2004-1. The Court

      FURTHER ORDERS that the Movant may compel the attendance of witnesses and production of
documents in the manner prescribed by Fed. R. Bankr. P. 2004(c) and 9016.

       DATED this 9th day of March, 2018.
                                                     BY THE COURT:


                                                     Thomas B. McNamara,
                                                     United States Bankruptcy Judge
